Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 1 of 11




                  EXHIBIT 4
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 2 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 3 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 4 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 5 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 6 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 7 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 8 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 9 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 10 of 11
Case 5:12-md-02314-EJD   Document 115-5   Filed 04/06/16   Page 11 of 11
